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AO 472 (Rev. 05/05) Order of Detention Pending Trial


                                        UNITED STATES DISTRICT COURT
                                                       Eastern District of Michigan
         UNITED STATES OF AMERICA
                    V.                                                            ORDER OF DETENTION PENDING TRIAL
            COURTNEY R. BROWN, SR.                                            Case Number: 05-80266-03
                            Defendant
    In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been held. I conclude that the following facts require the
detention of the defendant pending trial in this case.
                                                              Part I—Findings of Fact
G    (1) The defendant is charged with an offense described in 18 U.S.C. § 3142(f)(1) and has been convicted of a G federal offense              G state
         or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had existed - that is
         G a crime of violence as defined in 18 U.S.C. § 3156(a)(4).
         G an offense for which the maximum sentence is life imprisonment or death.
         G an offense for which a maximum term of imprisonment of ten years or more is prescribed in
                                                                                                                                                        .*
         G a felony that was committed after the defendant had been convicted of two or more prior federal offenses described in 18 U.S.C.
              § 3142(f)(1)(A)-(C), or comparable state or local offenses.
G (2) The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local offense.
G (3) A period of not more than five years has elapsed since the G date of conviction G release of the defendant from imprisonment
         for the offense described in finding (1).
G (4) Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably assure the
      safety of (an) other person(s) and the community. I further find that the defendant has not rebutted this presumption.
                                                             Alternative Findings (A)
G (1) There is probable cause to believe that the defendant has committed an offense
      G for which a maximum term of imprisonment of ten years or more is prescribed in                                                           .
      G under 18 U.S.C. § 924(c).
G (2) The defendant has not rebutted the presumption established by finding 1 that no condition or combination of conditions will reasonably assure
      the appearance of the defendant as required and the safety of the community.
                                                             Alternative Findings (B)
✔
G (1) There  is a serious risk that the defendant will not appear.
✔ (2) There is a serious risk that the defendant will endanger the safety of another person or the community.
G




                                            Part II—Written Statement of Reasons for Detention
    I find that the credible testimony and information submitted at the hearing establishes by       ✔clear and convincing evidence G a prepon-
                                                                                                     G
derance of the evidence that
This is a presumption case with a mandatory minimum of 20 years - life. Defendant is charged with conspiracy and intent to
distribute heroin involving 34 gross kilograms total. Defendant was convicted of possession/distribution dangerous drugs on
10/18/74 and was sentenced to 17 1/2 years followed by parole. He violated his parole by being charged with felon in possession,
where he was sentenced to 12 months and 3 years supervised release. He had an 1988 conviction for felony drugs which was
reversed on appeal. Defendant is 67 years old and has friends and family in Canada whom he visits. His age and the 20 year
minimum he is facing, gives him a heightened incentive to flee. (Continued on Page 2)
                                                     Part III—Directions Regarding Detention
     The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a corrections facility separate,
to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The defendant shall be afforded a
reasonable opportunity for private consultation with defense counsel. On order of a court of the United States or on request of an attorney for the
Government, the person in charge of the corrections facility shall deliver the defendant to the United States marshal for the purpose of an appearance
in connection with a court proceeding.
               April 14, 2006                          s/ Mona K. Majzoub
                     Date                                                                      Signature of Judge
                                                       MONA K. MAJZOUB UNITED STATES MAGISTRATE JUDGE
                                                                                           Name and Title of Judge
*Insert as applicable: (a) Controlled Substances Act (21 U.S.C. § 801 et seq.); (b) Controlled Substances Import and Export Act (21 U.S.C. § 951
et seq.); or (c) Section 1 of Act of Sept. 15, 1980 (21 U.S.C. § 955a).
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The nature of these charges makes this defendant a danger to society. No conditions of bond would assure
defendant’s appearance in court of the safety of the community.
